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                        UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


 UNITED STATES OF AMERICA,
                                                      Case No. 2:16-cr-20460
       Plaintiff,
                                                      Hon. Mark A. Goldsmith
 v.

 D-2 CARLO WILSON,

       Defendant.

 —————————————————————————————————/


      MOTION FOR EARLY DISCLOSURE OF PRIOR ACTS EVIDENCE

       Carlo Wilson, through counsel, pursuant to the Fifth, Sixth, and Eighth

 Amendments to the U.S. Constitution and Rules 104 and 404 of the Federal Rules

 of Evidence, respectfully moves this Court for an order requiring the government

 to disclose with specificity by July 8, 2019, any Fed. R. Evid. 404(b) evidence it

 intends to offer against Mr. Wilson at trial.1 Mr. Wilson further requests that the

 Court order the government to include in its 404(b) disclosure each other crime,

 wrong, or act that it intends to introduce or may introduce at trial whether during

 its case-in-chief or in impeachment or rebuttal, the existence of which is known, or

 1
        This Court ordered disclosure of Rule 404(b) evidence by July 8, 2019;
 however, the order does not require that the government do so with specificity.
 Dkt. 475. The order only states that the government must “give notice of intent to
 offer evidence under Federal Rules of Evidence 404(b) . . . .” Id.
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 by the exercise of due diligence could become known to the government and that

 such identification include the nature of the incident; the date, time and place of the

 incident; all persons who may testify regarding such incident including their name,

 address, and phone number; and all persons having knowledge of such incident

 including their names, addresses, and phone numbers.

       In support of this motion, Mr. Wilson respectfully states:

       1.      The grand jury indicted Mr. Wilson in a Second Superseding

 Indictment filed February 28, 2018. Dkt. 292. Mr. Wilson pled not guilty to the

 charges. Dkt. 302.

       2.      The Second Superseding Indictment includes special findings that

 authorize the government to seek a sentence of death, pursuant to 18 U.S.C. §

 3591. On March 1, 2018, the government filed it notice of intent to seek a sentence

 of death against Mr. Wilson. Dkt. 293. Trial is scheduled for April 21, 2020.

 Pursuant to the Scheduling Order, this Court required the government to produce

 all Rule 16 discovery materials regarding culpability by September 28, 2018. Dkt.

 475. To date, the government has disclosed well in excess 100,000 pages,

 including some duplicate documents, in addition to large video files and audio

 recordings.

       3.      In the Indictment, the government alleges that Mr. Wilson was part of

 the “6 Mile Chedda Grove” street gang, which appears by the government’s
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 allegations to be comprised of young men who grew up within a particular,

 approximate, square mile area of Detroit, Michigan. The government alleges that

 this group of young men, eleven of whom are included in the Indictment in this

 case, participated in illegal narcotics distribution and incorporated various insignia

 to identify their group. The government alleges a conspiracy involving a pattern of

 racketeering activity, including murder, robbery, and dealing in controlled

 substances. Seven of the counts in the Indictment, as alleged by the government,

 concern Mr. Wilson. The discovery disclosed thus far indicates numerous

 uncharged coconspirators and numerous cooperating witnesses.

       4.     Mr. Wilson respectfully requests that the Court enter an order

 requiring the government to disclose with specificity by July 8, 2019, any evidence

 under Fed. R. Evid. 404(b) it intends to offer against Mr. Wilson at trial.

       5.     The government, through its Assistant United States Attorney, does

 not concur in this motion.

                                Respectfully submitted,

                                By: s/ Jacqueline K. Walsh
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 DATED: October 19, 2018
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        MEMORANDUM IN SUPPORT OF CARLO WILSON’S
    MOTION FOR EARLY DISCLOSURE OF PRIOR ACTS EVIDENCE

                                      Issue Presented

       The issue before this Court is whether the government must disclose with

 specificity by July 8, 2019, any Fed. R. Evid. 404(b) evidence it intends to offer

 against Mr. Wilson at trial.
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                       Controlling Authority for the Relief Sought

       Fed. R. Evid. 404(b) and the Fifth, Sixth, and Eighth Amendments to the

 United States Constitution.

                                        ARGUMENT

       Rule 404(b)(2) of the Federal Rules of Evidence states: “On request by a

 defendant in a criminal case, the prosecutor must: (A) provide reasonable notice of

 the general nature of any such evidence that the prosecutor intends to offer at trial;

 and (B) do so before trial—or during trial if the court, for good cause, excuses lack

 of pretrial notice.” Fed. R. Evid. 404(b)(2). To permit Mr. Wilson’s counsel to

 meaningfully respond to the government’s evidence, Mr. Wilson requests that the

 Court order the government to disclose, with specificity, by the date previously

 ordered by this Court each other crime, wrong, or act that it intends to introduce or

 may introduce at trial whether during its case-in-chief or in impeachment or

 rebuttal, the existence of which is known, or by the exercise of due diligence could

 become known to the government.

       For each incident the notice should include the nature of the incident; the

 date, time and place of the incident; all persons who may testify regarding such

 incident including their name, address, and phone number; and all persons having

 knowledge of such incident including their names, addresses and phone numbers.

 See United States v. Anh The Duong, No. CR 01-20154, 2010 WL 532513, at *11
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 (N.D. Cal. Feb. 9, 2010) (in a federal death case, granting discovery of similar

 request for information related to proposed 404(b) evidence).

       As the commentary accompanying the 1991 Amendments to the Rule

 indicates, "no specific time limits are stated in recognition that what constitutes a

 reasonable request or disclosure will depend largely on the circumstances of each

 case." Fed. R. Evid. 404(b), Advisory Committee Notes (1991 Amend.). The

 circumstances of this case justify a requirement of a significant period of pretrial

 notice with specificity. First, the government is seeking Mr. Wilson's death, and

 therefore the proceedings must adhere to a heightened degree of reliability.

 Second, the Second Superseding Indictment outlines numerous overt acts that the

 government suggests were in furtherance of the alleged conspiracy charged in

 Count One. Based on review of discovery provided thus far, the defense believes

 the government likely will seek to introduce into evidence uncharged acts under

 Rule 404(b).

       The defense investigation of whatever prior acts are noticed by the

 government likely will require intensive and difficult investigative work. In light of

 the purpose of the notice requirement—to "reduce surprise and promote early

 resolution on the issue of admissibility," Fed. R. Evid. 404(b), Advisory

 Committee Notes (1991 Amend.)—Mr. Wilson's counsel request notice with

 specificity by July 8, 2019, of any potential 404(b) evidence. This will allow
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 counsel to complete their investigation of the proposed 404(b) evidence and file a

 timely motion to exclude any evidence that does not satisfy the requirements of the

 rule, while also allowing sufficient time for the government to respond and the

 Court to rule on that motion before trial.

       Improper admission of Rule 404(b) evidence may deprive a defendant of his

 rights to due process and a fair trial. U.S. Const., amends. V, VI, and VIII;

 Huddleston v. United States, 485 U.S. 681, 691 (1988) (noting that the Court

 “share[d] petitioner’s concern that unduly prejudicial evidence might be introduced

 under Rule 404(b)”); United States v. Burkhart, 458 F.2d 201, 205 (10th Cir. 1972)

 (recognizing that "it is clear that the problem [of prior bad acts evidence] is not a

 simple evidentiary one, but rather goes to the fundamental fairness and justice of

 the trial itself”). Further, improper admission of such evidence may constitute

 reversible error. See United States v. Corsmeier, 617 F.3d 417, 420-22 (6th Cir.

 2010) (ruling evidence of past cocaine use inadmissible under Rule 404(b) and

 reversing for new trial); United States v. Bakke, 942 F.2d 977, 981-83 (6th Cir.

 1991) (reversing for new trial where trial court improperly admitted evidence

 under Rule 404(b) when evidence was not relevant to any contested issue); United

 States v. Zelinka, 862 F.2d 92, 98-100 (6th Cir. 1988) (rejecting government’s

 argument that uncharged conduct after conspiracy ended constituted Rule 404(b)

 evidence and reversing for new trial).
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        The Sixth Circuit has developed rigorous criteria for the admission of other

 crimes, wrongs, or bad acts pursuant to Rule 404(b). A trial court must first

 determine whether “there is sufficient evidence the ‘other acts’ took place.”

 Corsmeier, 617 F.3d at 420. Then “it must determine whether those other acts are

 admissible for a proper purpose.” Id. The Sixth Circuit “has insisted that the use of

 other crimes evidence be confined to the purposes listed in the rule.” Zelinka, 862

 F.2d at 99. Finally, the trial court “must determine whether the ‘other acts’

 evidence is more prejudicial than probative.” Corsmeier, 617 F.3d at 420. If the

 trial court determines that the government has met its burden of presenting

 evidence under Rule 404(b), “the court must ‘clearly, simply, and correctly’

 instruct the jury as to the specific purpose for which [it] may consider the

 evidence.” United States v. Wells, 211 F.3d 988, 998-99 (6th Cir. 2000) (internal

 quotation and citation omitted).

        Requiring the government to give notice with specificity to Mr. Wilson will

 allow sufficient time for the defense to identify and draw to the Court's attention

 any deficiencies in the government's proposed evidence and for the Court to

 carefully consider that evidence, as the Sixth Circuit requires. A pretrial

 determination of the admissibility of the government's proposed evidence not only

 decreases the likelihood of reversible error at trial, it also assists the parties in

 focusing their trial preparation efforts.
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                                       CONCLUSION

       Carlo Wilson, through counsel, respectfully requests that the Court order the

 government to disclose, with specificity, any Rule 404(b) evidence it intends to use

 at trial by July 8, 2019, not to just “give notice” generally. Mr. Wilson further

 requests that the Court order the government to include in its 404(b) disclosure

 each other crime, wrong, or act that it intends to introduce or may introduce at trial

 whether during its case-in-chief or in impeachment or rebuttal, the existence of

 which is known, or by the exercise of due diligence could become known to the

 government and that such identification include the nature of the incident; the date,

 time and place of the incident; all persons who may testify regarding such incident

 including their names, addresses, and phone numbers; and, all persons having

 knowledge of such incident including their names, addresses and phone numbers.


                                Respectfully submitted,

                                By: s/ Jacqueline K. Walsh
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 DATED: October 19, 2019
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                            CERTIFICATE OF SERVICE

        I, Jacqueline K. Walsh, hereby certify that on October 19, 2019. I

  electronically served the forgoing document with the Clerk of the Court using the

  ECF system which will send notification to all parties.


                                     s/ Jacqueline K. Walsh
                                     Jacqueline K. Walsh
